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 8
                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No. 1:19-cr-00256-NONE-SKO

12                  Plaintiff,                           ORDER DENYING DEFENDANT’S
                                                         MOTION FOR BAIL REVIEW
13           v.
                                                         (ECF Nos. 194, 197, 198)
14   JULIO CESAR MORENO GARCIA,

15                  Defendant.

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17          On June 12, 2020, Defendant Julio Cesar Moreno Garcia filed a motion for bail review

18 seeking to be released from custody. The Government filed an opposition to the motion and an

19 amended opposition to the motion on June 23, 2020. The matter was heard on June 24, 2020.
20 Defendant appeared in custody by video from the Fresno County Jail. Counsel John Meyer

21 appeared by video for Defendant. Defendant appeared by video with the assistance of a Spanish

22 language interpreter. Counsel Jeffrey Spivak appeared by video for the Government. Having

23 considered the moving papers and the arguments presented at the June 24, 2020 hearing, the

24 Court shall deny Defendant’s motion for bail review.

25          A bail hearing “may be reopened, before or after a determination by the judicial officer,

26 at any time before trial if the judicial officer finds that information exists that was not known to
27 the movant at the time of the hearing and that has a material bearing on the issue whether there

28 are conditions of release that will reasonably assure the appearance of such person as required


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 1 and the safety of any other person and the community.” 18 U.S.C. § 3142(f).

 2         First and foremost, the Court finds that Defendant has not shown that new information

 3 exists that was not known at the time of the bail hearing. Defendant seeks to reopen the hearing

 4 to obtain release due to the COVID-19 pandemic. But “[t]he risk of harm to the defendant does

 5 not usually bear on [the analysis under 3142(f)]; rather, whether a defendant’s particular

 6 circumstances warrant release in light of the COVID-19 pandemic is more properly considered

 7 on a case-by-case basis under the ‘another compelling reason’ prong of § 3142(i).” United States

 8 v. Terrone, No. 319CR00058RCJCLB, 2020 WL 1844793, at *5 (D. Nev. Apr. 10, 2020); see

 9 also United States of Am. v. Ryan, No. 2:19-CR-756-JAK, 2020 WL 1861662, at *1 (C.D. Cal.

10 Apr. 14, 2020). Neither this nor the other issues raised by Defendant are new information

11 justifying reopening under section 3142(f).

12         Whether and under what conditions a defendant may be released pending trial under §

13 3142 is different from whether the defendant should be released for valid health reasons due to

14 the COVID-19 pandemic. Ryan, 2020 WL 1861662, at *1. “[T]he COVID-19 pandemic cannot

15 be the sole basis for releasing a defendant from custody pending trial; the Court must still

16 consider the Section 3142(g) factors.” United States v. Lee, No. 19-CR-20112-03, 2020 WL

17 1540207, at *3 (E.D. Mich. Mar. 30, 2020). Any determination regarding the initial detention—

18 and any later reconsideration of the detention decision based on materially changed

19 circumstances—depend solely “on the issue whether there are conditions of release that will
20 reasonably assure the appearance of [Defendant] as required and the safety of any other person

21 and the community.” Ryan, 2020 WL 1861662, at *1 (quoting 18 U.S.C. § 3142(f)).

22         Here, Defendant has been indicted on charges of conspiracy to distribute and to possess

23 with intent to distribute 500 grams and more of a cocaine and distribution of 500 grams and more

24 of cocaine. Defendant waived a detention hearing and was detained by Judge Grosjean on

25 December 18, 2019. Defendant seeks release into the third party custody of a cousin in Tulare

26 who works at home and has a room in which he can stay. The Government opposes the motion
27 on the ground that Defendant is a flight risk and a danger to the community arguing that

28 Defendant has failed to rebut the presumption that “no condition or combination of conditions


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 1 will reasonably assure the appearance of the person as required and the safety of the

 2 community.” 18 U.S.C. § 3142(e)(3)(E). By the current motion, the Court finds that the

 3 conditions offered by Defendant do not reasonably address the flight risk or the danger to the

 4 community that would be posed by his release on bail.

 5          Alternately, to the extent that Defendant is attempting to argue that the COVID-19

 6 pandemic qualifies as a compelling reason under 18 U.S.C. §3142(i) to grant temporary release,

 7 he has failed to demonstrate a compelling reason for release. Section 3142(i) provides that the

 8 Court “may, by subsequent order, permit the temporary release of the person, in the custody of a

 9 United States marshal or another appropriate person, to the extent that the judicial officer

10 determines such release to be necessary for preparation of the person’s defense or for another

11 compelling reason.”

12          While a defendant’s medical condition may present a compelling reason in a particular

13 case to seek temporary release, “[c]ourts typically grant relief under § 3142(i) only ‘sparingly to

14 permit a defendant’s release where, for example, he is suffering from a terminal illness or serious

15 injuries.’ ” Terrone, 2020 WL 1844793, at *4 (quoting United States v. Hamilton, 2020 WL

16 1323036, at *2 (E.D.N.Y. Mar. 20, 2020)). “[N]othing in the Bail Reform Act, including section

17 3142(i), authorizes pretrial release under [the generic pandemic conditions currently existing]

18 that—while undeniably grave—apply across the board to every pretrial detainee in [] custody.”

19 United States v. Villegas, No. 2:19-CR-568-AB, 2020 WL 1649520, at *2 (C.D. Cal. Apr. 3,
20 2020).

21          Courts hold that the fact that an individual may be at a higher risk from COVID-19 due to

22 underlying health reasons is not sufficient by itself to qualify as a compelling reason for

23 temporary release. Ryan, 2020 WL 1861662, at *2. While certain conditions are naturally more

24 conducive to the transmission of viruses, courts find that “prisons are no different than other

25 physically confined spaces like nursing homes, public schools, or homeless shelters.” Villegas,

26 2020 WL 1649520, at *2. Therefore, the “mere possibility of [a COVID-19] outbreak at
27 [Defendants’] facility does not equate to a compelling enough reason to justify [their] release”

28 under section 3142(i). Id. (quoting United States v. Smoot, 2020 WL 1501810, at *3, 2020 U.S.


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 1 Dist. LEXIS 55382, at *6 (S.D. Ohio Mar. 30, 2020)).

 2          In this instance, Defendant argues that his medical conditions of asthma and high blood

 3 pressure that are controlled by medication place him at a greater risk should he contact COVID-

 4 19. Defendant is incarcerated at the Lerdo Detention Facility and the Government asserts that

 5 there are currently no confirmed cases of COVID-19 within the Lerdo Detention Facility and

 6 precautions are being taken to prevent the spread of the disease within the facility. Defendant

 7 has not shown that the circumstances that he is confined in are such that they would amount to

 8 compelling circumstances to qualify him for temporary release.

 9          For these reasons and the reasons stated on the record, Defendant’s proposed new

10 conditions, along with the additional conditions, do not ensure the Defendant’s appearance or the

11 safety of the community.      Therefore, Defendant’s motion for bail review and release on

12 conditions is DENIED. The Defendant remains detained as a flight risk and danger to the

13 community.

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     IT IS SO ORDERED.
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16 Dated:     June 24, 2020
                                                       UNITED STATES MAGISTRATE JUDGE
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